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ALS DUKE STREET * ALEXANDRIA, VA 22314 6/28/2012 13918 ibezat
ALEXANDRE fn
DESCRIPTION SALE
CUSTOMER NUMBER 8929 DEAL NUMBER 33986 ead 59949.00
sounro JOHN HANNAH, LLC PAUL & KATHLEEN MANAFORT URICH SHIELD 699.80
RAINTLESS DENT 650.90
ADORESS STH AVENUE P N/A
NEW YORK NY 10022 7 N/A
) N/A
YEAR MAKE MODEL COLOR “USED VEHICLE IDENT. OR SERIAL NO. . N/A
Zpi2_davo over ute v a |:
SALESMAWAYNE HOOK |nos. WIVENTORY - NEW CARS
INSURANCE COVERAGE INCLUDES
FIRE 8 THEFT (1) ( Puauc LiAmiry - Ant. F | USED CARS « RETAR
COLLISION - AMT. DEDUCTIBLE [) (J PROPERTY DAMAGE - AMT. + WHOLESALE
° GROUP DESCRIPTION PRICE USED TRUCKS - RETAR
Pp c + WHOLESALE
T A
'
° R | ses tax 5387.92
a LICENSE AND TITLE 845.73
7 GROSS RECEIPTS LICENSE TAX 3.35
5 TOTAL CASH PRICE :
u FINANCING N/A
d WWSURANCE N/A
wo s TOTAL TIME PRICE 6765.
E E | oerosr N/A |;
: z CASH ON DELIVERY N/A
. E| REBATE N/A.
N baat — N/A
Dp N | wontHs DOLLARS .
T167655.00 rerun 67655.08
A TOTAL 67655.00
. Always Cring Your
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' Car Here For
5 NO LIABILITY INSURANCE INCLUDED
USED CAR TRADED Factory ruthorized
YEAR MAKE MODEL VEHICLE IDENT. OR SERIAL NO.
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Mar 21, 2042 Customer Bill . |
| PAUL MANAFORT MOUNT VERNON CIR Dominion
KATHLEEN MANAFORT DRIA , VA 22309
Billing and Payment Summar Explanation of Bill i
eas ats. ‘= * % =
Account —_ Diio Dato: Apr/13, 2012 ' Customer Service Lae SOP LE (1-066-366-4357)
{Total Amount Dues 0080. Sihc.. :, 4d199*. || Previous Balance | 451.28
Payment Received | 451.28CR
To avoid a Lale Payment 1 Charge of 1.5% please pay by Apr 13, 2012. Balance Forward { 0.00
Previous Amoun! Due: $ 451.26 Residential Service (Schedule ! ) 02/1 7.03/19
: Disiribution Service 77.30
Payments as of Mar 21: § 451 28CR Electricly; s (ESS)
Generation 168.34
pape Prk,
service emergencies and power ouleges piease call . :
1-866, DOMHELP (1 -866-366- 4387). Visit usat www dom.com. Sales aot ag nercange 244
Meter and Usage Usage History a. un to n ve 6.20
. Biennia! Review Credit I I 24.26CR
Cunard Sting Days: 31 Mo___¥i__bWh. ; Total Current Charges | 441.93
Seneavie 1 oon7-0ang May tt ¢s20 Yotal Account Balance, 441.93
Total kWh 4870 - " Bo View payment aptons, reques! service changes and enroll in @Gill at
Measured Usage Aug " 11155 | ww.dom.com. search: ne Your Account
Meter; 0165275925 02/17-03/19 Sep at 8050
Current Reading 1494 «6 Oct " 6461 .
Previous Reading 96624 _ "| | R
Total kWh 4870 (Ose 7 — ECE} ED
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Your bill this month retlects a crech ordored by the Vigiain Gite Gupenston Comatanion desig ts 2011 asi Rae Dominion Virginia Power's costs and
earnings. Please visit werw.dom.com/biemnial fo: more information
Bo sale. Always lack lor overhead power lines before extending ladders o: trimming trees. |
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Visa Manage Your Account’ on www.dom.com o: call us to join out Gudgel Billing and Automatic Bank Draft Plans. Ter are {roe servicos |
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Pleaie datoch ond retun thir payenew coupen with wou check mode peyable te Dewinion Virginio Power . Meare vee reverse tide fer mailing eddres change imtructions.
Payment Cou; \
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PAUL MANAFORT Send Payment to: a
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pon “WE OWE
NAME_PAUL & KATHLEEN MANAFORT STK NO,_12274L ! x _|usED_
ADDRESS [J STH AVE APTI YEAR 2012 Make LAND ROVER
]
city_NEW YORK sTaTe_NY zip_10022 a LR4

cA SERIAL NO

PHONE- HOME NO STAT work no, cet

SALESPERSON Wayne Hook DEL. DATE bers0r2012

 

 

 

]
QTY. NAME OF ITEM ' PART LABOR

 

FULL LENGTH ROOF RAILS-BLACK '

 

1
CROSSBARS - BLACK

 

RUBBER MATS

 

ZURICH SHIELD PAINT AND LEATHER PROTECTANT

 

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For any repairs not listed above, see your Buyers Guide.
No verbal promises or representations have been made except _§»-« WO TH IV G

I hereby accept this WE-OWE with the understanding that It Is valid for only (30) THIRTY DAYS FRO
ISSUANCE, and that I must make an ADVANCE APPOINTMENT WITH THE SERVICE oe

can be performed.
(FOR APPOINTMENT CALL SERVICE DEPT.) 4
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YOU OWE a tare
1) Title to Trade in Vehicle 4) Other '
2) All Monies . 5) Other
3) Valid Insurance Card 6) Other
1 hereby agree to provide such items In a timely manner
DATE 06/28/2012 ~
APPROVED

 

 

 

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LAND ROVER ALEXANDRIA
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TRADE INFORMATION

 

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Fwd: John Hannah organization docs
1 message

Page 6 of  P D Page|Dit 838

age | of

 

Amanda Haight

 
 
 

Thu, Jul 12, 204
To: Celia Hairston

 

Forwarded message ---—-~-—
From: Paul Manafort
Date: Tue, Jul 10, 2012 at 2:14 PM
Subject: John Hannah organization docs

To: Amanda Haight [i

  
 
 

Amanda

Attached are the certificate of organization, and the articles of incorporation for JH
know if you need anything else.

John Hannah, LLC

cn:

Paul

F
Click Here For Easy Directions to Landrover Alexandria

Amanda L. Haight

Sales Manager

Landrover Alexandria
HE Ouke Street
Alexandria, Virginia 22314

 

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a John Hannah LLC VA 4.06.06 certificate of Organization.pdf
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Case 1:18-cr-00083-TSE Document 161-3 Filed 07/26/18 Page 8 of 9 PagelD# 2840:

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ARTICLES OF ORGANIZATION |
FOR CONVERSION OF A DOMESTIC LIMITED PARTNERSHIP TO A
LIMITED LIABILITY COMPANY i

Pursuant to Chapter 12 of Title 13.1 of the Code of Virginia, the undersigned on behalf of
the limited parmership set forth below, states as follows:

1. The name of the former limited partnership is JOHN HANNAH, LP.

2. The date and place of filing of the initial Limited Partnership Certificate was
February 12, 1990 in P:.nmond, Virginia

3. The name of the Limited Liability Company upon conversion is;
JOHN HANNAH LLC

4. The name of the Limited Liability Company's initial Registered! Agent is

Kathlecn M. McDermott, Esq., who is an individual who is a Virginia Resident and a
member of the Virginia State Bar.

 

5. The initial registered office address is JJEvergreen Lane,

Annandale VA 22003, which is identical to the business office of the initial registered
agent and which i is located in the County of Fairfax. |

6. The principal office address of JOHN HANNAH LLC is Jj @. Union Street,
HE Alexandria VA 22314.

|
7. The terms and conditions of this conversion were epproved by the partners in

manner provided in the partnership’s agreement for amendments to the partnership
agreement or by all the partners.
8. Signed on behalf of the limited partnership:

JOHN HANNAG, LP

 
 
 

B its sole General Partner

Richard H. Davis, Vice ent and Secretary

Date: March “ , 2006

 

 

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Case 1:18-cr-00083-TSE Document 161-3 Filed 07/26/18 Rage 9 of 9|PagelID# 2841 -

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State CorPoRATION ComMIsSION
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Richmond, April 6, 2006

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This is to certify that the certificate of organization of

JOHN HANNAH LLC :
was this day issued and admitted to record in this office and that
the said limited lability company is authorized to brensact its
Gusiness subject to all Virginia laws applicable to the company

and its business. Effective date: April 6, 2006 |

Le State Corporation Commission |

; | Clerk of the Commission
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